                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

ROBERT STRONG,                    )
                                  )
           Plaintiff,             )
                                  )
v.                                )                Case No. 2:15-cv-04265-NKL
                                  )
UNITED STATES OF AMERICA, et al., )
                                  )
     Defendants.                  )


                     DESIGNATION OF MEDIATOR CERTIFICATE

       The parties jointly designate Ron Mitchell from the Court’s List of Mediators to conduct
the MAP mediation in this case. The mediation will be held on June 28, 2016 at the offices of
Smith Lewis, LLP, located at 111 South Ninth Street, Suite 200, Columbia, MO 65201.


                                            Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I certify that on April 20, 2016, I served this document upon all attorneys of record
through the Court’s electronic filing system.
                                                     /s/ John L. Roark
                                                     John L. Roark




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